   Case: 1:18-cv-08048 Document #: 39 Filed: 02/08/19 Page 1 of 2 PageID #:6107



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

DECKERS OUTDOOR CORPORATION,
                                                  Case No. 18-cv-08048
                        Plaintiff,
                                                  Judge John Robert Blakey
       v.
                                                  Magistrate Judge Jeffrey Cole
ZHAO WU, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Deckers”) hereby dismisses this action without prejudice against the

following Defendants:

               Defendant Name                                    Line No.
            wintebootshopping.club                                  31
                 vipshoes.xyz                                       48
            uggsbootsoutlets.us.com                                 84
              uggmexico.com.mx                                     108
            uggbootssaleaustralia.biz                              123
                  sputnick.ca                                      162
              sjfmaoafva.services                                  181
             jscphotographics.com                                  271
             fashionbootsales.club                                 341
                boots-sale.store                                   403
   Case: 1:18-cv-08048 Document #: 39 Filed: 02/08/19 Page 2 of 2 PageID #:6108



Dated this 8th day of February 2019.   Respectfully submitted,

                                       /s/ Justin R. Gaudio
                                       Amy C. Ziegler
                                       Justin R. Gaudio
                                       RiKaleigh C. Johnson
                                       Greer, Burns & Crain, Ltd.
                                       300 South Wacker Drive, Suite 2500
                                       Chicago, Illinois 60606
                                       312.360.0080
                                       312.360.9315 (facsimile)
                                       aziegler@gbc.law
                                       jgaudio@gbc.law
                                       rjohnson@gbc.law
                                       Attorneys for Deckers Outdoor Corporation




                                          2
